                                   EXHIBIT B



                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION


CINCLIPS, LLC,

                                             Case No. 8:16-CV-01067-SDM-JSS
           Plaintiff,
vs.

Z KEEPERS, LLC,


           Defendant.
                                    /

                             Z KEEPERS EXHIBIT LIST

         DATE             DATE
      IDENTIFIED        ADMITTED
                                   WITNESS           DESCRIPTION             OBJECTIONS

1.                                             U.S. Patent 9,133,609 (‘609
                                               Patent)

2.                                             ‘609 Patent File History
                                               CINCLIPS000001-187

3.                                             ‘609 Patent Assignment
                                               CINCLIPS000001-187

4.                                             ‘609   Patent    Invalidity
                                               Claim Chart [DE 59-3]

5.                                             ‘609   Patent   Invalidity
                                               Claim [DE 59-4]

6.                                             ‘609 Prosecution history

7.                                             U.S. Patent 9,637,88 B2
                                               (‘898 Patent)

8.                                             ‘898 Patent File History

9.                                             ‘898 Patent Assignment
	
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10.               ‘898           Continuation
                  Application

11.               ‘898 Claim Chart

12.               ‘898 Prosecution history

13.               Plaintiff’s I-beam structure

14.               Defendant’s        U-Mount
                  Product

15.               Defendant’s       U-Mount
                  redesigned product

16.               Premium Spruce Furring
                  Strip Board

17.               Furring strip and wedge cut

18.               Rubbermaid Slotted Spoon
                  1974 black

19.               Furring strip used by Stone
                  Improvements Corp. since
                  1997

20.               Deleted

21.               Deleted

22.               Deleted

23.               Cinclips Product

24.               Deleted

25.               Deleted

26.               Deleted

27.               Deleted

28.               Deleted

29.               Deleted



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30.               Deleted

31.               Design picture – ZK000001

32.               Design picture – ZK000002

33.               ‘731, '461, and '748
                  Applications         and
                  prosecution  history   –
                  ZK000003 –ZK000125

34.               ‘731, '461, and '748
                  Application         and
                  prosecution     history
                  continued   -ZK000126-
                  ZK000184, ZK 0000186-
                  229



35.               Letter dated April 21, 2016
                  from Stephen J. Stark to
                  Woodrow       Pollack     –
                  ZK00230-ZK000234

                  I Beam examples ZK 235-
                  236

36.               ‘461 and 748 Applications
                  and prosecution file history
                  – ZK000251-ZK000355

37.               ‘424    Application  and
                  Prosecution file history-
                  ZK000356-ZK000471

38.               Letter dated March 18,
                  2016 from Woodrow H.
                  Pollack to Michael Smith
                  ZK000472-487

39.               U Mount design documents
                  – ZK000488-492

40.               U Mount exemplars and
                  furring strip origin –
                  ZK000493-498

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41.               I-beam  prior  art      –
                  ZK000499-ZK000507

42.               US 4,047,340 – ZK000508-
                  ZK000524

43.               Internet   catalog    of
                  Rubbermaid Slotted Spoon
                  – ZK000525-ZK000531

44.               Plastic I-beam – ZK000532

45.               US 7,429,021      B2    –
                  ZK000533-541

46.               US 8,166,618      B2    –
                  ZK000542-554

47.               US 5,014,371 – ZK000555-
                  564

48.               US     5,6664,265       –
                  ZK000565-574

49.               US 5,538,206 – ZK000575-
                  579

50.               US 2012-0222213 Al –
                  ZK000580-601

51.               US 5,911,521 – ZK000602-
                  609

52.               US 4,504,986 – ZK000610-
                  615

53.               US 4,432,106 – ZK000616-
                  621

54.               US 3,022,519 – ZK000622-
                  625

55.               US 3,412,727 – ZK000626-
                  629

56.               US 2008-0313804 A1 –
                  ZK000630-660


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57.               US 2,846,695 – ZK000661-
                  663

58.               US           Application
                  2010/0301175   A1      –
                  ZK000664-685

59.               US 8,146,873      B2     –
                  ZK000686-691

60.               US 8,070,110      B2     –
                  ZK000692-703

61.               US 1,253,924 – ZK000704-
                  706

62.               US 3,365,732 – ZK000707-
                  710

63.               US 8,356,367      B2     –
                  ZK000711-728

64.               US 3,229,310 – ZK000729-
                  732

65.               US 5,743,501 – ZK000733-
                  740

66.               US 7,698,753      B2     –
                  ZK000741-751

67.               US 4,613,995 – ZK000752-
                  756

68.               U-mounts      Sales  by
                  Product/Service Summary
                  ZK000757

69.               Sales and costs of U-
                  Mounts – ZK000758

70.               Letter dated May 23, 2016
                  from David Smith to
                  Woodrow       Pollack   –
                  ZK000759

71.               Application   62044369   –


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                  ZK000763 – ZK000765

72.               Letter dated June 14, 2016
                  from David Smith to
                  Woodrow       Pollack    –
                  ZK000766

73.               Abstract ‘609 – ZK000767

74.               U-mounts     chart with
                  photograph – ZK000768 –
                  ZK000769

75.               ‘609 Claim 8 description –
                  ZK000770

76.               ‘609 Claim 16 description –
                  ZK000771

77.               Description  of    the
                  Drawings of One-piece
                  Mounting    Driver   –
                  ZK000772- ZK000773

78.               Electronic
                  Acknowledgment Receipt
                  for application number
                  62044369 – ZK000774 –
                  ZK000776

79.               GranQuartz internet catalog
                  – ZK000799-ZK000814

80.               Braxton-Bragg     internet
                  catalog – ZK000815-818

81.               U Mounts sales sheet –
                  ZK000819-821

82.               ‘683 Notice of Publication
                  of Application ZK000822

83.               ‘683   Office Action
                  Summary – ZK000824-
                  ZK000837

84.               ‘683 Disclosure Statement

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                  – ZK000838-845

85.               ‘683        Preliminary
                  Amendment – ZK000846-
                  862

86.               ‘748  File   history        -
                  ZK000863-923

87.               U Mounts sales sheet –
                  ZK000924-926

88.               Invoice 20140522 for mold
                  – ZK000927

89.               Florida Department of State
                  Electronic Filing for Z
                  Keprs, LLC - ZK000928

90.               Articles of Organization for
                  Z     Keepers    LLC       –
                  ZK000929

91.               U   Mounts       photo     –
                  ZK000953

92.               Home Depot product sheet
                  for premium Spruce Furring
                  Strip – ZK000933

93.               Photo of use of furring strip
                  – ZK000934

94.               U Mounts design document
                  – ZK000935

95.               Yuyao Lian Tong Plastic
                  Mould Co., Ltd. Invoice
                  #20160221 – ZK000936

96.               Yuyao Lian Tong Plastic
                  Mould Co., Ltd. Invoice
                  #20140522 – ZK000937

97.               Definitions of “A long” -
                  ZK000938- ZK000951



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98.                Amazon screenshot of
                   Undermount Sink Brackets,
                   Support – No Holes –
                   ZK000952

99.                U Mounts sales document –
                   ZK000954

100.               Yuyao Lian Tong Plastic
                   Mould Co., Ltd. Invoice
                   #20150730 – ZK000963

101.               Yuyao Lian Tong Plastic
                   Mould Co., Ltd. Invoice
                   #20140827 – ZK000964

102.               Yuyao Lian Tong Plastic
                   Mould Co., Ltd. Invoice
                   #20160221 – ZK000965

103.               Deposition Transcript of
                   David Smith

104.               D. Smith Depo Exhibit 4

105.               D. Smith Depo Exhibit 5
                   with physical makeup of
                   single driver

106.               D. Smith Depo Exhibit 6

                   with physical makeup of
                   single driver

107.               D. Smith Depo Exhibit 7

108.               D. Smith Depo Exhibit 8

109.               D. Smith Depo Exhibit 14

110.               D. Smith Depo Exhibit 16

111.               D. Smith Depo Exhibit 17

112.               D. Smith Depo Exhibit 18

113.               May 26, 2017 Electronic
                   Correspondence    from

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                   Elbert Wu to David Smith

114.               Z      Keepers’    Claim
                   Construction Terms

115.               Plaintiff's   Answers      to
                   Interrogatories

116.               Joint Claim Construction
                   Statement [DE 32]

117.               Plaintiff’s Opening Claim
                   Construction Brief with
                   Exhibit [DE 33]

118.               Defendant’s          Claim
                   Construction     Opposition
                   Brief [DE 35]

119.               Defendant’s Opposition to
                   Plaintiff’s Motion    for
                   Summary Judgment [DE
                   59]

120.               Affidavit of David Smith
                   [DE 59-1]

121.               Affidavit of Alan Kaiser
                   [DE 59-2]

122.               1 min 33 sec video of
                   construction of furring strip

123.               Amazon packing slip to
                   Woody      Pollack dated
                   6/2/2017, 8:07 PM

124.               Cornerstone          Granite
                   photograph of       Cinclips
                   Undermount kit

125.               Cornerstone          Granite
                   photographs of      Cinclips
                   box with pricing

126.               Letter dated April 21, 2016
                   from Stephen J. Stark to

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                                                             Woodrow H. Pollack

127.                                                         Image of Furring Strip and
                                                             UMount comparison - ZK
                                                             0000185

128.                                                         Plaintiff's              Initial
                                                             Disclosures

129.                                                         Plaintiff's  Answers to
                                                             Requests for Production
                                                             and production set

130.                                                         Image – wedge cap and
                                                             furring strip

131.                                                         Image – wedge cap and
                                                             bridge clip

132.                                                         Provisional application file
                                                             history CINCLIPS000144-
                                                             187

In	addition	Defendant	reserves	the	right	to	seek	the	introduction	of	any	exhibit	identified	by	Plaintiff	in	
Exhibit	A	to	the	Pre-trial	Statement.




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